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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF ALABAMA

EASTERN DIVISION

SYLVESTER DAVIS, JR., )
)
Petitioner, )
)

vs. ) Case No. 3: l 7cv675-WKW
)
WARDEN DEWAYNE ESTES, )
et al., )
l
Respondents. )

RESPONSE TO FEDERAL HABEAS PETITION

Come now Respondents in the above styled cause, by and through the
Attorney General of the State of Alabama, and in response to this Court’s October
26, 201 7 order make the following reply to Davis’s federal habeas petition:

l. Davis is currently serving life Without parole in state prison pursuant to
a conviction for murder.

2. Respondents aver that eight of the eleven claims presented in Davis’s
petition remain unexhausted and are procedurally defaulted because there remains
no avenue by Which Davis can return to state court to exhaust them.

3. Respondents also aver that because Davis’s remaining three claims
were adjudicated on their merits in state court, he is not entitled to federal habeas

review of those claims

 

 

 

 

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4. Respondents deny that any of Da.vis’s federal constitutional rights have
been violated by the State of Alabama incident to this case.

5. Respondents aver that they do not waive the future assertion of other
applicable defenses.

6. Respondents aver that based on this answer and the accompanying

exhibits, Davis is not entitled to federal habeas relief

CHRON()LOGY OF THE CASE
On November 15 , 2013, Davis was sentenced as an habitual felony offender
to serve life without parole pursuant to his conviction for murder. (Exhibit B at C.
27-28, ll-13_; R. 655, 665-67.)l Davis appealed his conviction on the following
grounds:
l. Insufficiency of the evidence:
a. The evidence was insufficient to prove the corpus
delicti and to demonstrate a causal connection
between Davis’s actions and the death of his victim,

Yamisha Thomas. (Exhibit C at ll-l6.)

b. Accomplice testimony was not properly
corroborated (Exhibit C at 16-20.)

c. The evidence was insufficient to support the guilty
verdict. (Exhibit C at 20-21.)

 

l Citations to the certified records, included as Exhibits B and G to this reply, will
reference pages in the clerk’s portion as “C.” and pages in the transcript portion as
¢GR.J,

 

 

 

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2. Davis was denied due process of law because the State “was not
required to prove cause of death and causal connection.” (Exhibit
C ar 21-22.)

On March 6, 2015, the Alabarna Court of Criminal Appeals issued a memorandum
opinion affirming Davis’S capital murder conviction (Exhibit E.) Davis did not seek
rehearing in that court, nor did he petition the Alabama Supreme Court for certiorari
review. (Exhibit A at 2.) Davis’s direct appeal became final on March 25, 2015,
when a certificate of judgment issued (Id.)

On February 29, 2016, Davis filed a Rule 32 petition collaterally attacking his
conviction (Exhibit G at C. 6-21.) In his petition, Davis alleged the following
grounds for relief:

l. Ineffective assistance of counsel:

a. failure to properly investigate (Exhibit G at 9-1 l.);

b. failure to hire an expert to refute cellular telephone
evidence introduced by the State (Exhibit G at ll-
13);

c. failure to Seek funds to “fully investigate”

circumstances regarding the State’s witness Jerry
Wayne F oster (Exhibit G at 13);

d. failure to obtain a mistrial for alleged jury
misconduct (Exhibit G at 14-15);

2. Davis was not appointed counsel until after he unknowingly
waived his right to a preliminary hearing (Exhibit G at 15-16.)

 

 

 

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3. Newly discovered facts involving a Facebook post made by Jerry
Wayne F oster show that Foster’s testimony was perjured
(Exhibit G at 16-17.)

4. The State violated Braoh/ by failing to disclose the terms of a deal
in exchange for Foster’s testimony, or, alternatively, if that
information was not known prior to trial it is newly discovered
evidence warranting a new trial. (Exhibit G at 17-18.)

5. The State failed to notify Davis that Foster’s testimony was
perjured or, at the least, failed to “look into the information
regarding the most important witness in the case.” (Exhibit G at
is-i9.)

The trial court summarily denied Davis’s petition on the grounds that it was
insufficiently pleaded and/or meritless (Exhibit G at 79-80.) Davis appealed this
order. On appeal, he reasserted three of the four ineffective assistance of counsel
claims, his newly discovered evidence claim, his claim that Foster’s testimony was
perjured, and his dual Bmdy/newly discovered evidence claim. (Exhibit H.) On July
7, 2017, the Alabama Court of Criminal Appeals affirmed the trial court’s order
denying Davis’s Rule 32 petition. (Exhibit J.)

Davis sought certiorari review in the Alabama Supreme Court on the

following grounds:

l. The Alabama Court of Criminal Appeals erred in finding that
Davis did not sufficiently plead his ineffective assistance of
counsel claims. (Exhibit K at 4-3.)

2. The Alabama Court of Criminal Appeals erred in finding that
Davis did not sufficiently plead his newly discovered evidence

claims, that he failed to prove perjury, and that the pleaded facts
represented mere impeachment evidence (Exhibit K at 8-10.)

 

 

 

 

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3. The Alabama Court of Criminal Appeals erred in finding that
Davis did not sufficiently plead his claim that trial counsel was
ineffective for failing to investigate (Exhibit K at 10-12.)

4. The Alabama Court of Criminai Appeals erred in finding that
Davis did not sufficiently plead his claim that trial counsel was
ineffective for failing to obtain a mistrial for jury misconduct
(Exhibit K at 12-14.)

On September 15, 2017, the Alabama Supreme Court issued an order denying
Davis’s petition for certiorari review and issued a certificate of judgment (Exhibit
F at 2.)

On October 6, 2017, Davis filed the instant federal habeas petition setting
forth the following eleven grounds:

“Ground One” - Davis was “denied Due Process and a F air Trial”
because the State’s evidence was insufficient “to prove the
corpus delecti [sic] and causal connection of death.” (Doc. l at
9.)

“Ground Two” - Davis was “denied Due Process and a Fair Trial”
because the State failed to corroborate the testimony of his
accomplice (Doc. l at lO-l l.)

“Ground Three” - Davis was “denied Due Process and a Fair Trial”
because the State’s evidence was insufficient to prove his guilt.
(Doc. l at ll.)

“Ground Four” - Davis was “denied Due Process and a Fair Trial

because the State failed to prove each element of the offense.”
(Doc. l at lZ.)

“Ground Five” - Davis was denied his right to effective assistance of

counsel because counsel failed to investigate his case. (Doc. l at
12-13.)

 

 

 

 

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“Ground Six” - Davis was denied his right to effective assistance of
counsel because counsel “failed to challenge the legally
questionable cell phone evidence.” (Doc. l at 13-14.)

“Ground Seven” - Davis was denied his right to effective assistance of
counsel because “counsel failed to move for funds to fully
investigate the circumstances surrounding [Davis’s] case.” (Doc.
l at l_4-15.)

“Ground Eight” - “Counsel was lneffective and Davis was prejudiced
thereby when Counsel fail [sic] to request a Mistrial after two
instances of Jury misconduct.” (Doc. l at 15-16.)

“Ground Nine” - Davis was “denied due process and fair procedure”
because he unknowingly waived his right to a preliminary
hearing (Doc. l at 16.)

“Ground Ten” - Davis was “denied Due Process and a Fair Trial”
because the State violated Brady “or due to Newly Discovered
Evidence.” (Doc. l at l6-l7.)

“Ground Eleven” - Davis was “denied Due Process and a Fair Trial”
because either the State failed to disclose that F oster perjured
himself or trial counsel “failed to look into the information
regarding the most important witness in the case." (Doc. l at 17.)

On October 26, 2017, this Court ordered Respondents to file a reply to Davis’s

petition. This response follows

STATUTE OF LIMITATION
Based on the information contained in the exhibits, it appears that Davis’s
petition was filed within the applicable statute of limitation A petition for writ of

habeas corpus must be filed within one year of “the date on which the judgment

 

 

 

 

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became final by the conclusion of direct review or the expiration of the time for
seeking such review.” 28 U.S.C.A. § 2244. Davis’s direct appeal became final when
the Alabama Court of Criminal Appeals issued a certificate of judgment on March
25, 2015. (Exhibit A at 2.) Davis filed a Rule 32 petition on February 29, 2016,
(Exhibit G at C. 6-21), which was 341 days into his limitation period This petition
tolled the limitation period 28 U.S.C.A. § 2244(d)(2) (providing that a “properly
filed” Rule 32 petition tolls the one-year statute of limitation for filing a federal
habeas petition). Davis’s collateral proceedings became final on Septeniber 15,
2017, when the Alabama Supreme Court issued a certificate of judgment (Exhibit
F at 2.) At this point, because 341 days had lapsed when Davis filed his Rule 32
petition, he had twenty-four days - or until October 9, 2017 - to file a timely federal
habeas petition Davis filed the instant petition on October 6, 2017, which was three

days before the limitation period lapsed

EXHAUSTION DOCTRINE
Eight of the eleven grounds set forth in Davis’s petition remain unexhausted
Furthermore, because there remains no avenue in state court for Davis to return and
fully exhaust these claims, they are also procedurally defaulted Thus, this Court

should decline to review these eight claims

 

 

 

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“An application for a writ of habeas corpus on behalf of a person in custody
pursuant to the judgment of a State court shall not be granted unless it appears that .
. . the applicant has exhausted the remedies available in the courts of the State.” 28
U.S.C. § 2254(b)( l)(A). The exhaustion doctrine “is grounded in principles of
comity and reflects a desire to protect the state courts’ role in the enforcement of
federal law.” Casri`lle v. Peoples, 489 U.S. 346, 349 (1989) (quoting Rose v. Limdy,
455 U.S. 509, 518 (1982)). “Because the exhaustion doctrine is designed to give the
state courts a full and fair opportunity to resolve federal constitutional claims before
those claims are presented to the federal courts . . . state prisoners must give the state
courts one full opportunity to resolve any constitutional issues by invoking one
complete round of the State’s established appellate review process.” O’Sulli`van v.
Boerckel, 526 U.S. 838, 842 (1999). ln Alabama, this requires presentment of the
claims to our state supreme court See Boerckel, 526 U.S. at 845-47 (explaining that
to properly exhaust claims for federal habeas purposes a petitioner must present the
claims to a state’s highest court, even where, as iii Alabama, that court employs
discretionary review).

Grounds “One” through “Four,” as set forth in Davis’s petition, challenge the
sufficiency of the evidence underlying Davis’s murder conviction (Doc. l at 9-12.)
Davis raised these same claims on direct appeal. (Exhibit C.) The Alabama Court of

Criminal Appeals found that grounds “One,” “Three,” and “Four” were meritless

 

 

 

 

 

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(Exhibit E at 10-15.) That court found that ground “Two,” alleging that the State did
not corroborate accomplice testimony, was not properly preserved, and,
alternatively, that it was also without merit. (Exhibit E at 9-10.) Davis did not
petition the Alabama Supreme Court for certiorari review of these findings (Exhibit
A at 2.) Thus, because Davis failed to present these claims to Alabama’s highest
court, they remain unexhausted Boer'ckel, 526 U.S. at 845-47.

Grounds “Nine” and “Eleven,” as set forth in Davis’s petition, also remain
unexhausted Ground “Nine,” alleging that Davis did not knowingly waive his right
to a preliminary hearing, was raised in Davis’s Rule 32 petition (Exhibit G at l5-
16.) The trial court found that this claim was refuted by the record and summarily
denied it. (Exhibit G. at 80.) Ground “Eleven,” alleging a dual Brady/ineffective
assistance of counsel claim, was also raised in Davis’s Rule 32 petition (Exhibit G
at l8-19.) The trial court summarily denied this claim after finding that it was
insufficiently pleaded (Exhibit G at 80.) Davis failed to reassert either of these
claims on appeal. (Exhibit I-l.) Thus, Davis did not “invoke[e] one complete round
of the State’s established appellate review process” and both claims remain
unexhausted Boerckel, 526 U.S. at 842.

Finally, grounds “Five” and “Ten,” as set forth in Davis’s petition, remain
unexhausted Ground “Five,” alleging that trial counsel was ineffective for failing to

investigate, was raised in Davis’s Rule 32 petition and again on appeal. (Exhibit G

 

 

 

 

 

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at 9-11; Exhibit H at 9-_15.) Likewise, ground “Ten,” alleging a dual Bmdy/newly
discovered evidence claim, was raised in Davis’s Rule 32 petition and again on
appeal. (Exhibit G, l2-l3; Exhibit H at 17-18.) 'l`he Alabama Court of Criminal
Appeals found that these claims were insufficiently pleaded to survive summary
dismissal and affirmed the trial court’s rulings (_Exhibit J at 7-9, 14-15.) Davis failed
to include these as grounds when he petitioned the Alabama Supreme Court for
certiorari review. (Exhibit K.) Thus, because Davis failed to present these claims to
Alabama’s highest court, they remain unexhausted Boerckel, 526 U.S. at 845-47.
ln addition, these eight claims are procedurally defaulted for purposes of
federal habeas review. Though technically unexhausted, they are effectively
exhausted because there remains no avenue for Davis to pursue these claims in state
court. “[F]ederal courts may treat unexhausted claims as procedurally defaulted
even absent a state court determination to that effect, if it is clear from state law that
any future attempts at exhaustion would be futile.” Bai'ley v. Nagle, 172 F.3d 1299,
1305 (l lth Cir. 1999) (citing Sriowden v. Si'ngletary, 135 F.3d 732, 737 (l lth Cir.
1998)). These claims would be time-barred because Davis’s time for filing a Rule
32 petition has lapsed Ala. R. Crim. P. 32.2(0) (providing for a one-year limitation
period after the conclusion of direct appeal within which to file a timely Rule 32
petition). Likewise, these claims would be barred as successive if presented in a

second Rule 32 petition Ala. R. Crim. P. 32.2(b). Accordingly, because there

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remains no avenue for Davis to exhaust these claims in state court, they are

procedurally defaulted for purposes of federal habeas review,

Grounds “Six,” “Seven,” and “Eight”

Grounds “Six,” “Seven,” and “Eight,” as set forth in Davis’s petition, were
fully exhausted in state court. The Alabama Court of Criminal Appeals, the last state
court to fully adjudicate these claims, determined that they were all ripe for summary
dismissal by the trial court because they were insufficiently pleaded pursuant to Rule
32.6(b) of the Alabama Rules of Criminal Procedure2 “A ruling by an Alabama
court under Rule 32.6(b) is also a ruling on the merits.” Borden v. A!leri, 646 F.3d
785, 812 (11th Cir. 2011). Habeas corpus relief “shall not be granted with respect to
any claim that was adjudicated on the merits in State court proceedings . . . .” 28
U.S.C.A. § 2254(d).

In ground “Six,” Davis alleges that trial counsel was ineffective for failing
to challenge cellular telephone evidence presented by the State. (Doc. 1 at 13-14.)
The Alabama Court of Criminal Appeals made the following findings regarding this

claim.

 

2 Rule 32.6(b) of the Alabama Rules of Criminal Procedure provides that “[t]he
petition must contain a clear and specific statement of the grounds upon which relief
is sought, including full disclosure of the factual basis of those grounds A bare
allegation that a constitutional right has been violated and mere conclusions of law
shall not be sufficient to warrant any further proceedings.”

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Here, Davis failed to include specific facts regarding this issue.
For instance, Davis did not give the name of a “cell phone tower expert”
that trial counsel should have called as a witness or explain how the
expert “would have countered the State’s expert.” See Boyd v. State,
913 So. 2d 1113, 1133 (Ala. Crim. App. 2003) (holding that a claim
that failed to “disclose the manner in which any such expert would have
countered the State’s expert testimony” is insufficiently pleaded).
Furthermore, Davis failed to plead sufficient facts indicating that he
would have been entitled to a court-funded “cell phone tower expert” if
trial counsel had requested one. See Boyd, 913 So. 2d at 1133 (citing
Ex parte Moc)dy, 684 So. 2d 114, 119 (Ala. 1996) (“[T]he indigent
defendant must show, with reasonable specificity, that the expert is
absolutely necessary to answer a substantial issue or question raised by
the state or to support a critical element of the defense.”)

As with the above claim, Davis’s claim iii this regard failed to
satisfy the prejudice prong of Srri`ckland. ln his petition, Davis argues
that “[t]he exclusion of certain evidence, such as statements or items
that did not have proper chain of custody, can make a [sic] break a case”
and that “[t]his failure to limit the admittance of the State’s witness or
be able to counter with an expert oii behalf of [Davis] very likely
allowed in evidence that made more specific factual findings that are
allowed or scientifically supported enough to pass the Daiibert test
required under Ala. R. Evid. 702.” (C. 6.) Davis’s statements however,
are nothing more than bare allegations Therefore, summary dismissal
of this claim was appropriate

(Exhibit 1 at 10.) ln ground “Seven,” Davis alleges that trial counsel was ineffective

for failing to “fully” investigate the State’s witness Jerry Wayne Foster. (Doc. l at

14-15.) The Alabama Court of Criminal Appeals made the following findings in

relevant part, regarding this c-laim.

‘“Claims of failure to investigate must show with specificity
what information would have been obtained with investigation, and
whether, assuming the evidence is admissible, its admission would
have produced a different result.”’ Hwir v. Stare, 940 So. 2d 1041, 1061

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(Ala. Crim. App. 2005) (quoting Thomas v. State, 766 So. 2d 860, 892
(Ala. Crim. App. 1998)).

Here, Davis failed to plead sufficient facts in support of his
failure-to-investigate claims Although Davis argues that trial counsel
should have investigated ways to “disprove[e] the intimidation of Jerry
Wayne Foster,” (Davis’s brief, p. 10), Davis failed to provide specific
facts regarding Foster’s testimony or to explain how F oster allegedly
perjured himself Also, Davis failed to plead specific facts regarding
Foster’s return to Tuskegee or explain why that information was
material . . . .

Furthermore, Davis failed to plead specific facts indicating how
the outcome of the trial would have been different To that point, Davis
vaguely contends that “he would be shown to be innocent” and that
counsel failed to “mak[e] a reasonable inquiry into all defenses that
[Davis] could have made,” (C. 5 -6]', however he does not explain how
either would have changed the outcome of his trial. Therefore,
summary dismissal of this claim was appropriate

(Exhibit J at 8-9.) In ground “Eight,” Davis alleges that trial counsel was ineffective

for failing to secure a mistrial for “jury misconduct.” (Doc. 1 at l 5-16.) The Alabama

Court of Criminal Appeals made the following findings regarding this claim.

“Davis argues that trial counsel failed “to obtain a mistrial due to
alleged juror misconduct.” (C. 14.) Davis specifically argues that
“someone in the venire poisoned the pool by declaring that Mr. Davis
looked guilty despite no evidence having be[en] presented at that
point.” (C. 9.) Davis also argues that “one of the jurors had been having
communications about the case with third party individuals”

ln Reeves v. State, [Ms. CR-13-1504, June 10, 2016] H_ So. 3d
_, _ (Ala. Crim. App. 2016), this Court held:

“To sufficiently plead a claim of juror-misconduct,
a Rule 32 petitioner must, at a minimum, identify the juror
who the petitioner believes committed the misconduct,
must allege specific facts indicating what actions that juror

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took that the petitioner believes constituted misconduct,
and must allege specific facts indicating how that juror’s
actions denied the petitioner a fair trial.”

_ So. 3d __.

Here, Davis failed to identify in his petition either juror that he
alleged acted improperly or provide any specific detail regarding the
“information exchanged” with the alleged third party. Although Davis
argues that the alleged instances of misconduct “inevitably tainted the
jury’s outcome” and “unlawfully influence[d] the verdict,” (C. 15),
Davis failed to plead any specific facts “indicating how [these] actions
denied [him] a fair trial.” _ So. 3d __.

Furthermore, Davis did not plead sufficient facts showing that
his trial counsel erred by failing to move for a mistrial based on his
alleged juror-misconduct claim. In fact, Davis admits that the circuit
court “fined and held in contempt” the juror that allegedly “shouted”
that Davis was guilty. (C. 15.) ln light ofthat, Davis failed to plead facts
indicating that the circuit court, after having admonished the juror for
that instance of alleged misconduct, should have granted a mistrial on
the same ground See Sajfold v. State, 570 So. 2d 727, 730 (Ala. Crim.
App. 1990) (holding that trial counsel was not required to make futile
or frivolous motions). Although Davis claims that he “alerted his
counsel that one of the jurors had been having communications about
the case with third party individuals,” (C. 14), he does not explain
whether he notified trial counsel in time to allow him to move for a
mistrial. Therefore, summary dismissal of this claim was appropriate

(Exhibit J at 10-11.)

Davis could overcome Section 2254(d)’s bar to relief by showing that the
Alabama Court of Criminal Appeals’s findings “(1) resulted in a decision that was
contrary to, or involved an unreasonable application of, clearly established Federal
law . . . ; or (2) resulted in a decision that was based on an unreasonable

determination of the facts in light of the evidence presented . . . .” 28 U.S.C.A. §§

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2254(d)(1), (2). But, because these grounds all allege ineffective assistance of
counsel, he bears an extremely high burden in doing so.

A state court’s determination that a claim lacks merit precludes
federal habeas relief so long as fairminded jurists could disagree on
the correctness of the state court’s decision Indeed, establishing that a
state court’s application of Srri'ckland was unreasonable under §
2254(d) is all the more difficult The standards created by Stri`ckland
and § 2254(d) are both highly deferential, and when the two apply in
tandem, review is doubly so.

Borden, 646 F.3d at 817. Davis has not pleaded any facts or law to overcome Section
2254(d)’s bar to relief. Accordingly, he is not entitled to review of these claims
Respectfully submitted,
Steve .Marshall

Attoi'ney General
By-

/s/Kristi O. Wilkerson
Kristi O. Wilkerson (wilkk5887)
Assistant Attorney General

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EXHIBITS
Alabama Court of Criminal Appeals’s docket sheet (direct appeal) (CC-12-
716; CR-l3-0266);
Certified record (direct appeal) (CC-12-716; CR-13-0266);
Davis’s brief (direct appeal) (CC~12-716; CR-13-0266);

State’s brief (direct appeal) (CC-12-7l6; CR-l3-0266);

Alabama Court of Criminal Appeals’s memorandum opinion (direct appeal)
(CC-12-716; CR-l 3-0266)',

Alabama Court of Criminal Appeals’s docket sheet (Rule 32 appeal) (CC-l2-
716.60; CR-15-1458);

Certified record (Rule 32 appeal) (CC-l2-716.60; CR-15-1458);

Davis’s brief(Rule 32 appeal)(CC-12-716.60; CR-15-1458);

State’s brief (Rule 32 appeal) (CC-12-716.60; CR-15-1458);

Alabama Court of Criminal Appeals’s memorandum opinion (Rule 32 appeal)
(CC-l2-7l6.60; CR-15-1458); and,

Davis’s petition for writ of certiorari to Alabama Supreme Court (Rule 32
appeal) (CC-12-716.60; CR-15-1458).

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CERTIFICATE OF SERVICE

l hereby certify that on this l_'/lh day of Noveinber, 2017, 1 electronically
filed the foregoing with the Clerk of the Court using the CM/ECF system and l
hereby certify that l have mailed by United States Postal Service the document
(including all exhibits) to the following non-CM/ECF participant to the address
listed on the Department of Corrections' website: Svlvester Davis Jr.LAIS #
21 1672;St Clair Countv Correctional _Facility1 1000 St Clair Road, Spririgvill§,
Alabama 35146.

/s/Kristi O. Wilkerson
Kristi O. Wilkerson (wilkk5887)

 

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